Case 19-34662 Document 6 Filed in TXSB
Print Pay Checks | on 08/21/19 Page Lot Page lof l

BUTTERWORTH SYSTEMS, INC.
JONATHAN RIVERA VELEZ ‘
17030 IMPERIAL VALLEY DR. HOUSTON , TX 77060

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ID SSN Payment ID Check Number | Payment Date | Start Period| End Period [Filing Status
HO4g00013 | ***-3807 4392719 0000000284787 3/29/2019 | 3/17/2019 | 3/23/2019 | SINGLE -2
__Earnings_ __Taxes
[Description _| Rate || Hours || Amount || Year-to-Date |]|___ Code | withheld || Year-to-Date
REGHRS I[s17.50]| 34.00][ $595.00]]__$7.735.42) [FEDERAL i $47.08) $542.67
PAID TIME OFF __|[s17.50|[__ 6.00 $105.00] | | $437.50|}|FICA/SS $43.40]| $506.94 |
HOLIDAY PAY TEL 2.00] $0.00]) §437.50|||FICA/MED g10.15|[ $118.56]
[Overtime - Regular Hours || \[ 0.00 g0.00|[ $13.391]|1X State Tax | $0,00|| | $0.00]
Total Earnings “|E__|_-40.00]{ $700.00], __$8,623.81|}|Total Taxes [ _ $100.63]| $1,168.17]
Benefits Deductions

[ Benefits | Amount | Year-to-Date | i... Deductions | Amount || Year-to-Date |

 

 

 

 

 

[MEP 401K SAFE HARBOR MATCH || $28.00]| $54.69||[MEP 401K SAFE HARGOR _||_$42.00| $82.33]
[Humana Den 1500 IL so.01|[ §62.89]||[Humana Med $2000 100/70 _|| s0.00| $529.80
4

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[Lincoln Basic Life Post-Tax | $0.01|| $16.45|]|Humana Den 1500 [$0.00] $26.97|
Humana Med $2000 100/70 | $0.00[ $1,236.21 [Lincoln 3X Basic Life a :
Lincoln 3X Basic Life $0.00] $23.50 ||[Lincoln ER 60 STD “|E g0.00][ $0.00]
{Lincoln ER 60 STD $0.00|| $46.62]|[Lincoin ER 60 STD | $0.00]| $0.00

[Lincoin ER 60 STD $0.00][ 40.00|||Lincoin ER 60 LTD | _$0.00][ $0.00|

[Lincoln ER 60 LTD $0.00 $54.60|||VSP Vis Basic —_|L__ $0.00] $8.22

[VSP Vis Basic | $0.00|| $19.17||[ Total Deductions [$42.00] $647.32

[Total Benefits {Ee $28.02], ___ $1,514.33

 

 

 

 

 

 

 

 

 

 

 

 

 

Net Wages $557.37 $6,808.32 [SAVING | 430.00]
| CHECKING $527.37]
[Net Deposit Wo $557.37
PTO

 

 

 

fa Description Za Hours Available i Hours Taken |

Message to You

 

 

 

 

 

 

Message to All Employees

 

 

 

 

 

If you have any questions regarding your pay stub, please contact your Payroll Administrator.
* Tot. Earnings Year-to-date may include pay codes not used in this pay period
All checks reflect the current W-4 exemptions alacted as of today. Past W-4 exemptions are not displayed on previous checks.
However, all other pay information is unaffected by this and is displayed properly on historical checks.

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Print Pay Checks

BUTTERWORTH SYSTEMS,

JONATHAN RIVERA VELEZ

INC.

417030 IMPERIAL VALLEY DR. HOUSTON . TX 77060

Case 19-34662 Document 6 Filed in TXSB on 08/21/19 Page 2 Of Bice 1 of 1
Page | of

 

 

 

 

 

 

 

 

 

 

 

 

 

ID SSN Payment ID Check Number Payment Date |Start Period|End Period [Filing Status|
04800013 AK QO7 1398281 00000000290105 4/5/2019 3/24/2019 3/30/2019 SINGLE - 2
Earnings Taxes

 

| Description | Rate | Hours |

 

|
Amount |[ Year-to-Date || _Code

 

| withheld || Year-to-Date _|

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[REGHRS ~_ |[$17.50l|_ 20.00 $350.01|| ___ $8,085.43]][ FEDERAL $4.73|| $547.40|
[HOLIDAY PAY a | $0.00]|_ §437.50||[FICA/SS §19.39|[ $526.33|
Overtime Regular Hours || __||_9.00 $0.00|| $13.39] FICa/MED | $4.53] “ $123.09
PAID TIME OFF | 0.00]| _$0.00][ __—_:$437.50]|[Tx State Tax [ $0.00 $0.00
| Fotal Earnings | 20.00|| $350.01|| _ $8,973.82|||Total Taxes | $28.65 $1,196.82|
Benefits Deductions
| Benefits ii Amount _|[__ Year-to-Date | [ Deductions || Amount | Year-to-Date |
[Humana Den 1500 | g5.24), §68.13|||Humana Med $2000 100/70__||_$44.15 l $573.95|
[Lincoln ER 60 LTD | $4.55] aa MEP 401K SAFE HARBOR || __$24.00]} $103.33]
Lincoin ER 60 STD | $3.80] $50.51 [Humana Den 1500 $2.25 $29.22|
[MEP 401K SAFE HARBOR MATCH || $14.00]| $68.89|||VSP Vis Basic $0.69 $8.91|

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[Humana Med $2000 100/70 _} $103.02 $1,339.23 || [Lincoln 3X Basic Life [_ $0.00]| $0.00)
Lincoln 3X Basic Life | §1.96 $25.46]|[Lincoln ER 60 STD [ $0.00][ $0.00
VSP Vis Basic E. $1,60][ S| Lincoln ER 60 STD ~_|L_ $0.00] $0.00]
Lincoln Basic Life Post-Tax [ §1.37|[_ $17.82 | Lincoln ER 60 LTD | $0.00 $0.00
Lincoln ER 60 STD IL $0.00], 50.00||| Total Deductions __ || $68.09 $715.41|

[Total Benefits | s3s.63|| $1,649.96|
Net Wages $253.27 $7,061.59 [SAVING —_ i $30.00]

[CHECKING | - $223.27
[Net Deposit | $253.27

 

 

PTO

 

 

[ Description ||

Hours Available

I Hours Taken |

 

 

Message to You

 

 

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Message to Ali Employees

 

 

 

 

 

If you have any questions

* Tot. Earnings Year-

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ted as of today. Past W-4 exemptions are not displayed on previous checks.
d by this and is displayed properly on historical checks.

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BUTTERWORTH SYSTEMS, INC.

JONATHAN RIVERA VELEZ
17030 IMPERIAL VALLEY DR, HOUSTON , TX 77060

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ib SSN Payment ID Check Number Payment Date | Start Period| End Period [Filing Status
Ho4800013 | ***-**-3807 1401240 0000000292905 4/12/2019 3/31/2019 | 4/6/2019 | SINGLE-2
Earnings | Taxes
Description Rate || Hours | Amount Year-to-Date Code i Withheld | Year-to-Date |
REGHRS $17.50], 39.90|[ $698.25]|_ $8,783.68 ||| FEDERAL lI $47.29|| $594.69
HOLIDAY PAY [o.0ol[ $0.00] _ $437.50|][FICA/SS | $40.98 $567.31
[Overtime - Regular Hours | ool $0.00 $13.39]|[ FICA/MED | $9.59 $132.68
PAID TIME OFF [ | o.00][ $0.00 $437.50]]| TX State Tax $0.00 $0.00
Total Earnings || |[_39.90]| $698.25|| _$9,672.07]|[Total Taxes $97.86|| $1,294.68)
_ Benefits j Deductions
[ Benefits | Amount | Year-to-Date _||[ Deductions || Amount I Year-to-Date
Lincoin ER 60 STD | $50.51 §50.51]|[Humana Med $2000 100/70 _||__44.15|| $618.10
Humana Den 1500 || $5.24 $73.37||| MEP 401K SAFE HARBOR $41.90|| $145.23
{Lincoln ER 60 LTD $4.55] $63.70} |Humana Den 1500 $2.25 | $31.47
[MEP 401K SAFE HARBOR MATCH $27.93 $96.82|||VSP Vis Basic $0.69]| $9.60]
Humana Med $2000 100/70 _| $103.02]| $1,442.25] [Lincoln 3x Basic Life $0.00 $0.00
Lincoln 3X Basic Life | $1.96) $27 une ER 60 STD $0.00 $0.00|
[VSP Vis Basic | $1.60]| | $22.37|I[Lincoln ER 60 STD [$0.00] $0.00]
[Lincoln Basic Life Post-Tax | $1.37]| ___$19.19]][Lincoin ER 60 LTD | _ s0.00]f $0.00]
Lincoln ER 60 STD $-46.62|| §3.89]|| Total Deductions | $88.99]| $804.40]
Total Benefits | $149.56]| $1,799.52|
Net Wages $511.40 $7,572.99 [SAVING dL $30.00|
[CHECKING l $481.40]
[Net Deposit | $511.40]
PTO

 

 

 

Description || Hours Available i Hours Taken |

 

 

 

Message to You

 

 

 

 

Message to All Employees

 

 

 

 

If you have any questions regarding your pay stub, please contact your Payroli Administrator.
* Tot. Earnings Year-to-date may include pay codes not used in this pay period
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Print Pay Checks

BUTTERWORTH SYSTEMS, INC.
JONATHAN RIVERA VELEZ
17030 IMPERIAL VALLEY DR, HOUSTON . TX 77060

Case 19-34662 Document 6 Filed in TXSB on 08/21/19 Page 4 of Page 1 of |

 

 

 

 

 

 

 

 

 

 

 

 

a) SSN Payment iD |. Check Number [Payment Date|Start Period! End Period [Filing Statu:
| Hore00023 ee A-3807 1408406 00000000299271 4/19/2019 4/7/2019 4/13/2019 | SINGLE - 2
Earnings Taxes

 

 

 

i Description __|[ Rate

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|
Amount | | Year-to-Date ||| Code

~ || withheld || Year-to-Date __|

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[REGHRS ~_|[$17.50}|_ 40.00 $700.00}) $9,483.68||[FEDERAL || $42.37 $637.06}
Overtime - Regular Hours |[ $26.25][ _0.16][_ $4.20]|_ $17.59l||FICA/SS | $41.35 $608.66
HOLIDAY PAY || I o.o|[  §0.00][__—_-$437.50|]|FIcameD dL §9.67|| $142.35]
PAID TIME OFF | | o.00|f _$0.00][__$437.50|[Tx state Tax [ $0.00| $0.00]
Total Earnings | [a0.16|| $704.20|| _$10,376.27}|[Total Taxes | $93.39|| $1,388.07|
Benefits — Deductions
[ Benefits il Amount I Year-to-Date | [ Deductions || Amount i Year-to-Date |
[Humana Den 1500 | $5.24]| $78.61||[Humana Med $2000 100/70 _||_$44.15 | $662.25}
[Lincoln ER 60 LTD | $4.55|| $68.25|||MEP 401K SAFE HARBOR ~ $42.25|[ $187.49
[Lincoln ER 60 STD 43.39] $54.40]{{Humana Den 1500 $2.25]| $33.72|
MEP 401K SAFE HARBOR MATCH |} $28.17|| $124.99 |I| VSP Vis Basic ‘|L_ $0.59|| $10.29]
Humana Med $2000 100/70 i $103.02 | $1,545.27 |[|Lincoln 3X Basic Life | $0.00|[ $0.00
[Lincoln 3X Basic Life i” $1.96]| $29.38]}|Lincoln ER 60 STD | $0.00
[vsP Vis Basic | $1.60] $23.97 ||[Lincoln ER 60 STD _|L__ $0.00] $0.00]
[Lincoln Basic Life Post-Tax | §1.37|| _ $20.56] Lincoln ER 60 LTD $0.00] ~ $0.00]
[Lincoln ER 60 STD | $0.00|| §3.89||| Tota! Deductions lL $89.34} $893.74)
[Total Benefits | $149.80|| __$1,949.32|
Net Wages $521.47 $8,094.46 [SAVING ail $30.00]
CHECKING | $491.47|
Net Deposit dL. $521.47|

 

 

 

PTO

 

| Description [ Hours

 

Available || Hours Taken |

 

 

 

Message to You

 

 

 

 

Message to All Employees

 

 

 

 

 

Tf you have any questions
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All checks reflect the current W-4 exemptions elec
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-date may include pay codes not used in this pay period
ted as of today. Past W-4 exemptions are not displayed on previous checks.

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Case 19-34662 Document 6 Filed in TXSB on 08/21/19 Page 5 of

Print Pay Checks

BUTTERWORTH SYSTEMS, INC.
JONATHAN RIVERA VELEZ
17030 IMPERIAL VALLEY DR. HOUSTON , TX 77060

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ID SSN Payment ID Check Number _ | Payment Date| Start Period) End Period |Filing Status)
Ho4go9013 | ***-**-3807 1411540 00000000302184 4/26/2019 4/14/2019 | 4/20/2019 | SINGLE - 2
Earnings | Taxes
[ Description _|[ Rate | Hours l| Amount || Year-to-Date | | Code ‘|| Withheld i] Year-to-Date
[REGHRS \[s17.sol| _37.63]| $658.53]| __ $10,142.21 FEDERAL i g41.17|| $678.23
[HOLIDAY PAY [[s1750][__ 2.00| $35.00]| $472.50|||FICA/SS | $40.69]| $649.35
[Overtime - Regular Hours _| j[__2.00]|_0.00|| _ $17.59]|| FICA/MED | $9.51] $151.86
[PAID TIME OFF {_ |L_o-oolL $0.00), $437.50||[TX State Tox || $0.00|[ $0.00
[Total Earnings || || 39.63][ $693.53]| Siecsool Total Taxes _||_ $91.37|| $1,479.44
Benefits Deductions
[ Benefits || _ Amount | Year-to-Date | [ Deductions || Amount || Year-to-Date |
[Humana Den 1500 |. §5.24]| §83.85]|| Humana Med §2000 100/70 _ || $44.15] $706.40
[Lincoln ER 60 LTD g4.55|[ $72.80||[meP 401K SAFEHARBOR || __$41.61I| $229.09
Lincoin ER 60 STD $3.89]| $58.29|I[Humana Den 1500 [ $2.24]| $35.96]
[MEP 401K SAFE HARBOR MATCH $27.74 §152.73]||VSP Vis Basic $0.67|| $10.96
[Humana Med $2000 100/70 §103.01|| ___$1,648.26]||Lincoln 3x Basic Life $0.00| $0.00]
Lincoln 3X Basic Life $1.95][ $31.33]|[Lincoin ER 60 STD $0.00 $0.00|
VSP Vis Basic $1.59] $25.56||[Lincoln ER 60 STD “| $0.00 $0.00|
[Lincoin Basic Life Post-Tax | $1.37][ §21.93]|[Lincoin ER 60 LTD | __ $0.00] 40.00|
[Lincoln ER 60 STD | 40.00|| §3.89|| Total Deductions | $982.41
[Total Benefits mi $149.34]| $2,098.66
Net Wages $513.49 $8,607.95 [SAVING i. $30.00]
CHECKING i $483.49|
[Net Deposit | $513.49]
PTO
fe Description I Hours Available || Hours Taken
Message to You
Message to Ali Employees |

 

 

 

 

If you have any questions regarding your p

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ay stub, please contact your Payroll Administrator.

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BUTTERWORTH SYSTEMS, INC.

JONATHAN RIVERA VELEZ

17030 IMPERIAL VALLEY DR, HOUSTON . TX 77060

Case 19-34662 Document6 Filed in TXSB on 08/21/19 Page 6 Offve 1 of I
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ID SSN Payment ID Check Number _| Payment Date | Start Period| End Period Filing Status!
Ho4go0013 | ***-**-3807 1418338 0000000308614 5/3/2019 4/21/2019 | 4/27/2019 |. SINGLE - 2
Earnings __. [ Taxes
[Description _|| Rate || Hours [Amount || Year-to-Date ||[___ Code Withheld || Year-to-Date _|
[REGHRS ~~ |[$17.50][ 40.00]]_$700.01]|___ $10,842.22|||FEDERAL $42.31| $720.54]
[overtime -Regular Hours _ || $26.25]| oia|[ $3.68] §21.27]||FICA/SS $41.32 $690.67
[HOLIDAY PAY | || o.al[ $0.00! $472.50]|[FICA/MED | $9.67 $161.53
PAID TIME OFF - Tool g0.00|| ___$437.50)| [1x state Tax \e $0.00 $0.00]
[Total Earnings I qo.14]| $703.69||_ $11,773.49]||| Total Taxes | $93.30 $1,572.74||
Benefits Deductions

 

 

 

 

Benefits

|| Amount

|| Year-to-Date |

 

{ Deductions ~_ ][ Amount \| Year-to-Date |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Humana Den 1500 T $5.24] $89.09||[Humana Med $2000 100/70 _|[_$44.15]| ” $750.55]
Lincoln ER 60 LTD | $4.55|| $77.35|||MEP 401K SAFE HARBOR $42.22|| $271.31
[Lincoln ER 60 STD | $3.89] $62.18||| Humana Den 1500 $2.25] $38.21
[MEP 401K SAFE HARBOR MATCH | $28.15]| $180.88] ||VSP Vis Basic [___ 0.69] 411.65|
Humana Med $2000 100/70. _| $103.02 $1,751.30]| [Lincoln 3x Basic Life | __$0.00]] $0.00]
Lincoln 3X Basic Life ae $1.96|| $33.29|||Lincoln ER 60 STD | __ 40.00] $0.00
[VSP Vis Basic $1.60], $27.16| iLincoin ER 60 STD | $0.00] $0.00|
[Lincoln Basic Life Post-Tax $1.37) $23.20] [Linco ER 60 LTD ~ | $0.00]f $0.00
[Lincoin ER 60 STD $0.00 §3.80|||Total Deductions I $89.31}| $1,071.72
[Total Benefits |i $149.78||_ $2,248.44||

Net Wages $521.08 $9,129.03 [SAVING I $30.00|

 

 

 

 

 

[CHECKING = $491.08]
[Net Deposit || $521.08]

 

PTO

 

[ Description

|| Hours Available || Hours Taken |

 

 

Message to You

 

 

 

 

Message to All Employees

 

 

 

 

 

If you have any question

* Tot, Earnings Year

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